          Case 2:15-cr-00205-TLN-EFB Document 111-2 Filed 08/14/19 Page 1 of 1



 1   THOMAS A. JOHNSON, #119203
     Law Office of Thomas A. Johnson
 2   400 Capitol Mall, Suite 2560
     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
                                                )
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:15-cr-00205-TLN-EFB
               Plaintiff,                       )
10                                              ) CERTIFICATE OF SERVICE BY MAIL
11         v.                                   )
                                                )
12   MATTHEW MULLER,                            )
         Defendant.                             )
13
14
           The undersigned hereby certifies that she is an employee in the Law Office of
15
     Thomas A. Johnson and is a person of such age and discretion to be competent to serve
16
     papers. That on August 14, 2019, she served a copy of the Trial Counsel’s Request For
17
     Extension of Time to File Declaration, by placing said copy in a postpaid envelope
18
     addressed to the person hereinafter named, at the place and address stated below, which is
19
     the last known address, and by depositing said envelope and its contents in the United
20
     States Mail at Sacramento, California.
21
22         Addressee:
           Matthew D. Muller
23         1684 Decoto Rd, #274
24         Union City, CA 94587
25
     Dated: August 14, 2019
26
27   /s/ Carmela Maldonado
     CARMELA MALDONADO
28   Legal Assistant


                                                 1
